                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


TORIANA MARCELLUS CAVE,                             )
                                                    )
                            Petitioner,             )
                                                    )
                     v.                             )    1:09CV492
                                                    )    1:06CR474-6
UNITED STATES OF AMERICA,                           )
                                                    )
                            Respondent.             )



                                          ORDER

       On July 14, 2009, the United States Magistrate Judge's Recommendation was

filed and notice was served on the parties pursuant to 28 U.S.C. § 636. Petitioner

filed objections to the Recommendation within the time limit prescribed by Section

636.

       The Court has reviewed Petitioner’s objections de novo and finds they do not

change the substance of the United States Magistrate Judge's rulings which are

affirmed and adopted. Petitioner’s objections are unclear, but it appears that he may

have intended to file his Motion for Leave to File a Supplemental Brief (docket no.

251) as part of his direct appeal. If so, the document would have to be filed directly

with the Fourth Circuit Court of Appeals.

       IT IS THEREFORE ORDERED that this action is dismissed sua sponte without

prejudice to Petitioner filing a corrected motion on the proper § 2255 forms once his

direct appeal has ended, and that finding no substantial issue for appeal concerning

the denial of a constitutional right affecting the conviction, nor a debatable procedural

ruling, a certificate of appealability is denied.

       This the day of September 22, 2009



                                                   /s/ N. Carlton Tilley, Jr.
                                            Senior United States District Judge




       Case 1:06-cr-00474-NCT       Document 259        Filed 09/22/09   Page 1 of 1
